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PROB 22 DO KET N
(Rev- 2/88} C UN|BER (Tran. Court)
TRANSFER OF JURISD|CT!ON"T ‘ 2103CR20282-01
w _ d , \_ .i, xi _-,_ _; ry ;_~_,;wq DOCKET NUMBER (Rec. Court)
;'_L`.`._"` i;:?=.! §§ .';t "'~=' »`-"
NAME AND ADDRESS oF PRoBATloNER/SUPERVISED DlSTRlCT o\vlsloN
RELEASEE _ x ' ` ` ;;. _ l
Western District of Western
Ray M. Abel Tennessee
14232 Hwy 70
NAME OF SENTENC|NG JuDGE
Proctor, AR 72376
Honorable .F. Daniel Breen
DATES oF FROM TO
PRoBATJON/SUPERVISED 02/1 7/0 5
RELEASE: 02/ 1 6/06
oFFENsE §rQJC§ 3 3
» . ,.. m \"\ "`;,a '_;
Rece1pt, Possession, and Concealment of Stolcn Goods_ 18 U.S.C. § 2313 'O§_U:f :O
_1~.;.7‘ __l\\ 53 /
~_;_4.(;:3 ` /
_st`
PART 1 - 0RDER TRANSFERR\NG JuRllechoN §§`~" '§ \
uNtTED sTATEs I)ls'rmc'r count ron Tnla; Western DlSTRICT OF Tennessee 55""{5 _` "

 

lT lS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or
supervised releasee named above be transferred with the records of the Court to the `United States District Court
for the Eastern District of Arkansas upon that Court's order of acceptance of jurisdiction This Court hereby

expressly consents that the period of probation or supervised release may be changed by the District Court to
which this transfer is made without further inquiry of this court.*

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Dare / Un."fr’d S),‘ares Dr'sfrtc{ erdge .

*'This sentence may be deleted in the discretion ofthe transferring Ccurt.

 

 

 

PART 2 ~ ORDER ACCEPTING JURISD]CTI()N

 

UN:'|‘ED s'l`A'rEs DIs'nuCT count ron run blastern [)istrict of Arkansas

 

lT lS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be
accepted and assumed by this Court from and alter the entry of this order.

4/'2,¢; /os' %¢_Q~ w/\ v’l/Lac_§)\‘

Efl`ective Date United Srates District Judge
\ document entered on the docket sheet ln com hance

…i 1 Luie 55 and/or 32{b) FFlCrP On g/£' 12 "Q f

 

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 82 in
case 2:03-CR-20282 Was distributed by faX, mail, or direct printing on
.lune 7, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

